               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL MILLER,                 :
                      Plaintiff :               No. 1:24-CV-00014
                                :
              v.                :               Magistrate Judge Schwab
                                :
COUNTY OF LANCASTER and         :               Electronically Filed Document
OFFICE OF OPEN RECORDS,         :
                    Defendants :                Complaint Filed 01/04/24

                 DEFENDANT’S BRIEF IN OPPOSITION TO
                PLAINTIFF’S MOTION TO STRIKE (DOC. 29)
      Defendant the Office of Open Records, through counsel, hereby files this Brief

in Opposition to Plaintiff’s Motion to Strike its Motion to Dismiss and Supporting

Brief, (Doc. 29), pursuant to Local Rule 7.6. Plaintiff’s Motion must be denied

because failed to establish that Defendant’s Motion to Dismiss and supporting brief

are an insufficient defense or contain any redundant, immaterial, impertinent, or

scandalous matter, as defined within the confines of Rule 12(f) of the Federal Rules

of Civil Procedure.

I.    STATEMENT OF ALLEGED FACTS & PROCEDURAL HISTORY

      Pro se Plaintiff Miller filed his Complaint on January 4, 2024, allegedly and

solely pursuant to this Court’s federal question jurisdiction. (Doc. 1 at ¶¶ 2 (citing

28 U.S.C. § 1331), 3 (citing to 28 U.S.C. § 1342(a)(3) only).) In so doing, Plaintiff

brings suit against Lancaster County and the Pennsylvania Office of Open Records

(“OOR” or “Office of Open Records”) and essentially claims that both Defendants
allegedly violated the RTKL by denying his three RTKL Requests, and subsequent

appeals, which included not giving him full-unfettered access to ballots from the May

2022 election in Lancaster County, Pennsylvania. (See gen. id.) Plaintiff attached

twenty-one (21) exhibits, which span approximately one-hundred and fifty-one pages,

to his Complaint. (See Doc. 1-2 (exhibit table of contents at ECF pg. 2).)

      In sum, Plaintiff poses several hypothetical questions to the Court under a self-

titled section “Petition for Review.”1 (Id. at ¶¶ 74-96.) For relief, Plaintiff seeks

miscellaneous forms of declaratory relief and requests that this Court hold that the

Pennsylvania RTKL is invalid and enjoin further application of the RTKL. (Id. at

ECF pg. 22.)

      Defendant Lancaster County moved to dismiss the Complaint and filed its

supporting brief. (Docs. 8, 17.) Plaintiff filed his Brief in Opposition to the County’s

Motion to Dismiss on February 24, 2024. (Doc. 24.) The County filed its Reply

Brief on March 11, 2024. (Doc. 31.)

      On January 11, 2024, Defendant OOR was served with a copy of the

Complaint. (Doc. 6.)      Undersigned Counsel received referral to represent the

Defendant on February 1, 2024, and filed her entry of appearance and motion for


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       Plaintiff includes several “questions” that are not asserted against the OOR but,
rather, appear to be asking this Court to make determinations as to whether various
Pennsylvania Courts’, that are non-parties to this case, actions in ruling upon civil
appeals and cases filed by Plaintiff provided him with sufficient process or were
otherwise proper under the law. (Doc. 1 at ¶¶ 85, 86, 93, 94, 95.)

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extension of time to respond to the complaint that same day—the day in which

Defendant’s responsive pleading to the Complaint was due. (See Docs. 9, 10.)

Plaintiff then filed for, and the Clerk entered, the entry of default against the OOR on

February 5, 2024. (Docs. 11-12.) The OOR filed its Motion to Set Aside Default,

with supporting brief on February 9, 2024. (Docs. 14-15.) Plaintiff filed his Motion

to Enter Default Judgment against OOR, with a supporting brief, on

February 17, 2024. (Docs. 20, 20-1.) OOR intends to vigorously defend against this

action and will file a brief in opposition to that Motion in accordance with Local

Rule 7.6.

      The OOR filed its Motion to Dismiss this matter on February 9, 2024, and now

files this brief in support of its Motion in accordance with Local Rule 7.5. (Doc. 16.)

      Plaintiff filed his Brief in Opposition to Defendant’s Motion to Dismiss the

Complaint on February 29, 2024. (Doc. 28.)

      Plaintiff now files his Motion to Strike Defendant’s Motion to Dismiss on

February 29, 2024, (Doc. 29), and supporting brief on March 11, 2024. (Doc. 30.)

II.   ISSUE PRESENTED

      A.     Whether Plaintiff’s Motion must be denied because he failed to
             establish that Defendant’s Motion to Dismiss and supporting
             brief are an insufficient defense or contain any redundant,
             immaterial, impertinent, or scandalous matter, as defined within
             the confines of Rule 12(f)?

      Suggested Answer: Yes.



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III.   ARGUMENT

       “Striking some or all of a pleading is therefore considered a drastic remedy to

be resorted to only when required for the purposes of justice.” Goodfellow v. Camp

Netimus, Inc., 207 WL 1738398, at *3 (M.D. Pa. May 4, 2017) (Mannion, J.) (citation

and quotation omitted). Rule 12(f) provides that “[t]he court may strike from a

pleading an insufficient defense or any redundant, immaterial, impertinent, or

scandalous matter.” Fed. R. Civ. P. 12(f). “Immaterial matter” is defined as those

matters that have “no essential or important relationship to the claim for relief.” Fed.

Nat’l Mortgage Assoc. v. Boldrini, 2018 WL 6735102, at *4 (M.D. Pa. Nov. 6, 2018)

(Carlson, J.).

       “Impertinent matter” includes “statements that do not pertain, and are not

necessary, to the issues in question.” Id. “Scandalous matter” is defined as matter

that “improperly casts a derogatory light on someone, most typically on a party to the

action.” Id. Moreover, to be “scandalous,” the pleading must “reflect cruelly upon

the [party’s] moral character, use repulsive language or detract from the dignity of the

court.” Id. (internal quotations omitted and citations omitted).

       Generally, a party must file his motion to strike “before responding to the

pleading or, if a response is not allowed, within 21 days after being served with the

pleading.” Id. at Rule 12(f)(2). Alternatively, the court may act on its own. Id. at

Rule 12(f)(1).



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         Motions seeking relief under Rule 12(f) is generally disfavored by courts and

are “denied unless the allegations ‘have no possible relation to the controversy and

may cause prejudice to one of the parties, or if the allegations confuse the issues in

the case.’” Fed. Nat’l Mortgage Assoc. v. Boldrini, 2018 WL 6735102, at *4 (M.D.

Pa. Nov. 6, 2018) (citation omitted). Motions to strike are so disfavored that this

Court previously noted that “striking a party’s pleadings is an extreme measure, and,

as a result, . . . motions to strike under Fed. R. Civ. P. 12(f) are viewed with disfavor

and are infrequently granted. Id. (internal quotations and citations omitted) (cleaned

up).     Stated simply, as this Court previously held, the Federal Rules of Civil

Procedure “simply do not permit the gratuitous striking of meritorious pleadings.” Id.

at *5.

         Plaintiff essentially argues that Defendant’s pending Motion to Dismiss and

supporting brief must be stricken because (1) these filings are “not allowed because a

default” was entered against Defendant, (Doc. 29 at ¶ 2); (2) that because

Defendant’s Motion and supporting brief are unsworn, they are “immaterial and

impertinent” and are an “insufficient defense” under Rule 12(f), (id. ¶¶ 3-4);

(3) Defendant’s Motion and brief are non-compliant with Local Rule 7 and Rule 7(b)

of the Federal Rules of Civil Procedure because the defense is not made in the

motion, (id. ¶ 5); (4) Defendant’s Motion is untimely filed under Rule 12(a), (Doc. 30

at ECF pg. 3-4); (5) that Defendant’s Motion and brief are untimely because the



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Clerk entered default against it, (id.); and (6) that Defendant’s Motion and supporting

brief are immaterial and impertinent because they do not pertain to the issue of

default. (id.) Plaintiff is wrong.

      At the outset, the pending Motion to Strike does not conform with

Rule 12(f)(2) because it was filed after Plaintiff filed his response to the pleading he

now wishes to strike. (See & compare Docs. 28, 29.) For this reason alone the Court

may deny Plaintiff’s Motion. Assuming, arguendo, this Court considers the Motion

pursuant to Rule 12(f)(1), Defendant addresses Plaintiff’s strike arguments in tandem.

      With respect to Plaintiff’s first and fifth proffered arguments, Defendant’s

filings are “not allowed because a default” was entered against Defendant, (Doc. 29

at ¶ 2), fails. First, even after reasonable review of the Local and Federal Rules and

case law research, Defendant’s Counsel found no legal authority to support this

argument. Moreover, in fact, the Rules encourage the opposite such that all matters

can and be resolved on their merits. See United States v. $55,518.05 in United States

Currency, 728 F.2d 192, 194-195 (3d Cir. 1984) (it is preferred to resolve cases on

their merits rather on a default judgment). Secondly, this argument does not establish

that Defendant’s filings are either redundant, immaterial, impertinent, or scandalous,

as required for the Rule 12(f) standard. Thus, these arguments fail as a matter of law.

      Plaintiff’s second argument, that Defendant’s unsworn filings are “immaterial

and impertinent” and are an “insufficient defense” under Rule 12(f), (Doc. 29 at



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¶¶ 3-4), fails. First, Defendant’s filings are neither “immaterial” or “impertinent”

because the arguments presented in Defendant’s filings are that Plaintiff’s Complaint

fails to state any claim upon which relief may be granted. (See Docs. 16, 21); see

also Fed. Nat’l Mortgage Assoc., 2018 WL 6735102, at *4. Defendant’s dismissal

arguments are directly relevant to the resolution of the legal matters asserted in the

complaint, namely, that Plaintiff failed to state a claim upon which relief can be

granted. While Plaintiff may disagree with Defendant’s arguments or disagrees that

this matter should not be dismissed for failure to state a claim, his disagreements do

not establish the requisite elements needed to support a Rule 12(f) motion. Thus, this

argument similarly fails as matter of law.

      Plaintiff’s third reason, alleged non-compliance with Local Rule 7 and

Rule 7(b), is also unpersuasive.     As Rule 7(b) of the Federal Rules provides,

Defendant’s Motion is in writing and sets forth the relief sought and states with

particularity the grounds for seeking the order. (Doc. 16 (“The Complaint fails to

state any claim upon which relief may be granted.”) (“. . . pursuant to rule 12(b)(6) of

the Federal Rules of Civil Procedure.”).) Moreover, Defendant’s brief argues the

same and provides sufficient legal citation to support those dismissal arguments.

(Doc. 21.) The crux of Plaintiff’s Complaint is that he attempts to assert claims under

the Pennsylvania Right to Know Law, which are improper in actions filed pursuant to

Section 1983, 42 U.S.C. § 1983. For these reasons, Plaintiff’s third argument fails.



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      Plaintiff’s fourth reason to strike, untimeliness, is unsuccessful.    Plaintiff

claims only that because Defendant’s Motion was filed on February 9th and not

February 1st it should be stricken. (Doc. 30 at ECF pg. 4.) Defendant disagrees.

First, Defendant sought leave of court to file a response to the Complaint before the

time for doing so expired. (Doc. 10.) In addition, mere untimeliness does not

establish that Defendant’s filings are scandalous, impertinent, or immaterial. Fed.

Nat’l Mortgage Assoc., 2018 WL 6735102, at *4; see also Graham v. Moheagan Sun

at Pocono Downs, 2016 WL 3254744, at *2 (M.D. Pa. June 14, 2016) (Kosik, J.)

(denying motion to strike seeking to strike pleading for untimeliness).

      The instant case is similar to Federal National Mortgage Association. In

Federal National a party filed a motion to strike seeking to strike the other party’s

removal petition because it was untimely. Fed. Nat’l Mortgage Assoc., 2018 WL

6735102, at *5. The Federal National court denied the motion to strike because

(1) the filing was “well-taken and meritorious” and (2) the argument to strike on

timeliness grounds could not even be “remotely viewed as ‘redundant, immaterial,

impertinent, or scandalous.’” Id.

      Similarly to Federal National, Defendant’s Motion to Dismiss is meritorious

and asserts good-faith arguments that illustrate that the complaint fails to state any

claim upon which relief may be granted. (See Docs. 16, 21.) In addition, as the Court




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found in Federal National, Plaintiff’s untimely argument cannot, in any fashion, be

viewed as redundant, immaterial, impertinent, or scandalous—as discussed above.

      This matter is also similar to Goodfellow. In Goodfellow, the plaintiff filed a

motion to strike the defendant’s motion to dismiss because it was filed five days late.

Goodfellow, 2017 WL 1738398, at *4. The Goodfellow defendant did not seek an

extension of time or a nunc pro tunc request with respect to their motion. Id. The

Goodfellow court held that striking the motion to dismiss “would be too drastic a

sanction” and proceeded to reach the merits of defendant’s motion. Id. In so doing,

the court found that there would be no prejudice to the plaintiff by denying the

motion to strike because those same arguments could and would be addressed later at

summary judgment. Id.

      Like Goodfellow, Plaintiff moves to strike Defendant’s Motion to Dismiss.

(Doc. 29.)    Unlike the Goodfellow defendant, Defendant filed its Motion for

Extension of Time prior to the expiration of the response deadline and filed its

Motion only eight days later and filed supporting brief in accordance with Local

Rule 7.5. (See Docs. 10, 16, 21.) Thus, the Defendant in this matter did what the

Goodfellow court instructed in dicta—to file for a motion for extension of time.

Goodfellow, 2017 WL 1738398, at *4.            Additionally, as this Court held in

Goodfellow, striking Defendant’s Motion would be a “drastic” “sanction” as Plaintiff

has not established any actual prejudice from this eight-day delay. Moreover, similar



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to the case in Goodfellow, even if the case were to survive past the pleadings,

arguendo, all of Defendant’s arguments asserted in their Motion and supporting brief

can be addressed in a motion for judgment on the pleadings and/or summary

judgment.    As such, Plaintiff’s untimeliness argument fails as a matter of law.

Defendant requests that this Court not strike its filings and resolve its Motion on their

merits.

      Plaintiff’s sixth reason to strike, filings do not relate to the default, is equally

unpersuasive. This argument does not comport with any of the requisite elements

under the Rule 12(f) standard. See Fed. R. Civ. P. 12(f). Plaintiff, again, failed to

meet his burden under Rule 12(f) to illustrate the necessity of the highly disfavored

and extreme measure that is a motion to strike.

IV.   CONCLUSION

      For the foregoing reasons, Defendant respectfully requests that this Court deny

Plaintiff’s Motion to Strike.




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                                       Respectfully submitted,

                                       MICHELLE A. HENRY
                                       Attorney General

                                By:   s/ Mary Katherine Yarish
                                      MARY KATHERINE YARISH
Office of Attorney General            Deputy Attorney General
15th Floor, Strawberry Square         Attorney ID #328843
Harrisburg, PA 17120
Phone: (717) 783-6315                 KAREN M. ROMANO
                                      Chief Deputy Attorney General
myarish@attorneygeneral.gov           Civil Litigation Section

Date: March 25, 2024                  Counsel for Defendant Office of Open
                                      Records




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                         CERTIFICATE OF SERVICE
      I, Mary Katherine Yarish, Deputy Attorney General for the Commonwealth

of Pennsylvania, Office of Attorney General, hereby certify that on Mach 25, 2024,

I caused to be served a true and correct copy of the foregoing document titled

Defendant’s Brief in Opposition to Plaintiff’s Motion to Strike (Doc. 29) to:

VIA ECF

Michael Miller                              Sarah Hyser-Staub
108 North Reading Road                      McNees Wallace & Nurick LLC
Suite F, 246                                100 Pine Street
Ephrata, PA 17522                           Harrisburg, PA 17101
reaganfive@protomail.com                    sstaub@mcneeslaw.com
Pro Se Plaintiff                            Counsel for Defendant County of
                                            Lancaster


                                              s/ Mary Katherine Yarish
                                             MARY KATHERINE YARISH
                                             Deputy Attorney General
